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                                                    UNITED STATES DISTRICT COURT
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                                                  NORTHERN DISTRICT OF CALIFORNIA
                   17
                                                            OAKLAND DIVISION
                   18

                   19
                        In re Google RTB Consumer Privacy               Master File No. 4:21-cv-02155-YGR-VKD
                   20   Litigation,
                                                                        GOOGLE LLC’S ADMINISTRATIVE
                   21                                                   MOTION TO SEAL PORTIONS OF THE
                                                                        AUGUST 30, 2022 HEARING TRANSCRIPT
                   22   This Document Relates to: all actions,

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ATTORNEYS AT LAW                                                                                GOOGLE LLC’S ADMIN
 SAN FRANCISCO                                                                           MOTION TO FILE UNDER SEAL
                                                                                    CASE NO. 4:21-CV-02155-YGR-VKD
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                    1   I.     INTRODUCTION
                    2          Pursuant to Northern District of California Civil Local Rules 7-11 and 79-5, Defendant

                    3   Google LLC (“Google”) respectfully submits this Administrative Motion (“Google’s Motion”) to

                    4   consider whether portions of the August 30, 2022 Hearing Transcript, attached hereto as Exhibit

                    5   A, should remain under seal.

                    6          The portions of the Hearing Transcript listed below reflect highly confidential and

                    7   proprietary information regarding sensitive internal data systems and operations, including

                    8   Google’s internal data logs, data signals, and experiments, that Google keeps confidential. As set

                    9   forth in Google’s Motion and in the Declaration of Laura M. Elliott (“Elliot Declaration”), Google

                   10   confirms the confidentiality of these items.

                   11          Accordingly, Google hereby requests that the Court enter an order sealing the information

                   12   identified in the table below:

                   13                                                                                            Party
                   14                                                                                          Claiming
                                   Document                       Portions to be filed Under Seal            Confidentiality
                   15    August 30, 2022 Hearing Portions Highlighted in Yellow at: 32:18-                   Google
                         Transcript              19, 32:25-33:1, 50:5-7, 50:10-11, and 55:10
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                        II.    LEGAL STANDARD
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                   19          A party seeking to seal material must “establish[] that the document, or portions thereof,

                   20   are privileged, protectable as a trade secret or otherwise entitled to protection under the law” (i.e.,

                   21   is “sealable”). Civ. L.R. 79-5(b). Further, the sealing request must also “be narrowly tailored to

                   22   seek sealing only of sealable material.” Id.

                   23          The Ninth Circuit applies two tests to determine whether a party is entitled to file certain

                   24   documents under seal: a “compelling reasons” test for dispositive motions and a “good cause” test

                   25   for motions “not related, or only tangentially related, to the merits of a case[.]” Ctr. for Auto Safety

                   26   v. Chrysler Grp., LLC, 809 F.3d 1092, 1097, 1099 (9th Cir. 2016) (citations omitted); Kamakana

                   27   v. City & Cty. of Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006). The good cause standard

                   28   “requires a ‘particularized showing,’ . . . that ‘specific prejudice or harm will result’ if the
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                    1   information is disclosed.” Heath v. Google LLC, No. 15-cv-01824-BLF, 2018 WL 4561773, at *1
                    2   (N.D. Cal. Sept. 20, 2018) (quoting Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d
                    3   1206, 1210–11 (9th Cir. 2002)).
                    4          The Hearing Transcript at issue relates to a non-dispositive discovery motion, and thus the
                    5   good cause standard applies here. See, e.g., Pieterson v. Wells Fargo Bank, N.A., No. 17-cv-02306-
                    6   EDL, 2018 WL 10362631, at *2 (N.D. Cal. Nov. 8, 2018) (“Because the sealing requests were
                    7   made in conjunction with a nondispositive discovery motion, a showing under the good cause
                    8   standard will suffice.”); Calhoun v. Google, Case No. 20-cv-05146, ECF No. 327 at 2 (N.D. Cal.
                    9   Sept. 30, 2021) (finding the “good cause” standard applies “because the information the parties
                   10   seek to seal was submitted to the Court in connection with discovery-related motions, rather than a
                   11   motion that concerns the merits of the case”); id. at ECF No. 386 (sealing hearing transcripts related
                   12   to discovery dispute under “good cause” standard.”).              Notably, “[r]ecords attached to
                   13   nondispositive motions are not subject to the strong presumption of access.” TVIIM, LLC v. McAfee,
                   14   Inc., No. 13-cv-04545-HSG, 2015 WL 5116721, at *1 (N.D. Cal. Aug. 28, 2015) (citation omitted).
                   15
                        III.   GOOD CAUSE WARRANTS SEALING OF PORTIONS OF THE AUGUST 30, 2022 HEARING
                   16
                               TRANSCRIPT
                   17

                   18          Google asks this Court to seal portions of the Hearing Transcript which contain Google’s
                   19   confidential, proprietary information. Pursuant to the good cause standard, Google’s sealing
                   20   request is warranted.
                   21          As an initial matter, the proposed redactions are narrowly tailored to redact only the specific
                   22   portions of the Hearing Transcript that reflect confidential information, and thus do not “unduly
                   23   limit[] public access.” ASUS Computer Int’l v. Round Rock Research, LLC, No. 12-CV-02099 JST
                   24   (NC), 2014 WL 2810193, at *2 (N.D. Cal. June 20, 2014).
                   25          Further, good cause exists to support Google’s narrow sealing request. As explained in the
                   26   Elliott Declaration, each of the portions of the August 30, 2022 Hearing Transcript that Google
                   27   seeks to seal contain confidential and proprietary information regarding highly sensitive features
                   28   of Google’s internal systems and operations that Google does not share publicly. (Elliott Decl. ¶
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                    1   5.) This information includes details related to Google’s internal data logs and data signals and
                    2   their proprietary functionalities and reveals Google’s internal strategies, experiments, and business
                    3   practices for operating and maintaining its services while complying with its legal and privacy
                    4   obligations. (Id. ¶¶ 5, 6.) This information should be sealed for multiple reasons.
                    5          First, this information is precisely the type of “competitively sensitive information,” such
                    6   as “confidential research, development, or commercial information,” that courts have found
                    7   warrants sealing. France Telecome S.A. v. Marvell Semiconductor Inc., 2014 WL 4965995, at *4
                    8   (N.D. Cal. Oct. 3, 2014); Elliott Decl. ¶ 7; see also Phillips v. Gen. Motors Corp., 307 F.3d 1206,
                    9   1211 (9th Cir. 2002) (acknowledging courts’ “broad latitude” to “prevent disclosure of materials
                   10   for many types of information, including, but not limited to, trade secrets or other confidential
                   11   research, development, or commercial information”).
                   12          Second, public disclosure of the above-listed information would harm Google’s competitive
                   13   standing it has earned through years of innovation and careful deliberation, by revealing sensitive
                   14   aspects of Google’s proprietary systems, strategies, and designs to Google’s competitors. Elliott
                   15   Decl. ¶ 7. For these reasons, courts in this District also routinely seal references to data logs and
                   16   internal data systems. See, e.g., Free Range Content, Inc. v. Google Inc., No. 14-cv-02329-BLF,
                   17   ECF No. 192, at 3–9 (N.D. Cal. May 3, 2017) (granting motion to seal certain sensitive business
                   18   information related to Google’s processes and policies to ensure the integrity and security of a
                   19   different advertising system); In re Google Inc. Gmail Litig., No. 13-md-02430-LHK, 2013 WL
                   20   5366963, at *3 (N.D. Cal. Sept. 25, 2013) (sealing material that “if made public Google contends
                   21   could lead to a breach in the security” of Google’s systems). And, in fact, this Court has already
                   22   previously sealed similar references to internal data logs. In re Google RTB Consumer Privacy
                   23   Litig., No. 21-cv-02155-YGR, ECF 186 (N.D. Cal. Apr. 29, 2022) (sealing reference to data
                   24   sources).
                   25          Third, good cause also exists to seal portions of the Hearing Transcript to prevent malicious
                   26   actors from seeking to compromise Google’s data sources, including data logs, internal data
                   27   structures, and internal identifiers. Public disclosure would place Google at an increased risk of
                   28   cyber security threats. Elliott Decl. ¶ 8. See, e.g., In re Google Inc. Gmail Litig., 2013 WL
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                    1   5366963, at *3 (N.D. Cal. Sept. 25, 2013) (sealing “material concern[ing] how users’ interactions
                    2   with the Gmail system affects how messages are transmitted” because if made public, it “could lead
                    3   to a breach in the security of the Gmail system”). Thus, the security threat is yet another compelling
                    4   reason for this Court to seal the identified information.
                    5   IV.         CONCLUSION
                    6               For the foregoing reasons, Google respectfully requests the Court seal the aforementioned
                    7   portions of the August 30, 22 Hearing Transcript reflected in Google’s concurrently filed
                    8   redactions, the public disclosure of which would cause significant harm to Google.
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                   12   Dated: November 18, 2022                                COOLEY LLP
                   13

                   14
                                                                                By: /s/ Laura M. Elliott
                   15                                                               Laura M. Elliott
                   16                                                           Attorney for Defendant
                                                                                GOOGLE LLC
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